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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 7

J & M SALES INC., et al.                                       Case No. 18-11801 (JTD)

                          Debtors. 1                           (Jointly Administered)

GEORGE L. MILLER, solely in his capacity as
chapter 7 trustee for the bankruptcy estates of J&M
Sales, Inc. and its affiliated debtor entities,

                          Plaintiff,
         v.
                                                               Adv. Pro. No.: 19-50362 (JTD)
ARMOUTH INTERNATIONAL, INC.,

                          Defendant.

               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
          HEARING ON OCTOBER 22, 2019, AT 2:00 P.M. (COURTROOM NO. 5)

    CONTINUED/RESOLVED MATTERS:

    1.   Motion of Phillip White for Relief from the Automatic Stay Pursuant to 11 U.S. C. §
         362(d) [Filed: 02/19/2019] (Docket No. 1321)

         Related Documents:
                                         (a)     Certification of Counsel Submitting Proposed Order
                                                 Granting Limited Relief from the Automatic Stay
                                                 [Filed 10/16/2019] (Docket No.1734)

                                         (b)    Order Granting Limited Relief from the Automatic
                                                Stay [Filed 10/17/2019] (Docket No. 1739)

         Response Deadline:                      March 4, 2019 at 4:00 p.m. Eastern Time

         Responses Received:                     None

         Status:                                 An Order has been entered by the Court. No hearing
                                                 is necessary.

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         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP
         Stores, Inc. (6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237);
         Caribbean Island Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and
         Pazzo Management LLC (1924).


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2.   Final Application for Compensation and for Reimbursement of Expenses for the
     period August 6, 2018 to March 5, 2019 Filed by Katten Muchin Rosenman LLP
     [Filed: 03/18/2019] (Docket No. 1361)

     Related Documents:               None

     Response Deadline:               April 8, 2019 at 4:00 p.m. Eastern Time; Extended
                                      to July 25, 2019 at 4:00 p.m. Eastern Time for the
                                      Trustee

     Responses Received:
                              (a)     Limited Objection and Reservation of Rights of 99
                                      Cents Only Stores, LLC, Brixmor Operating
                                      Partnership LP, Federal Realty Investment Trust,
                                      PGI Management, PGIM Real Estate, Primestor
                                      Development, Inc., Valley Plaza, LLC Watt
                                      Companies, Weitzman, and Wind Chime Properties,
                                      L.P. to Certain Final Fee Applications
                                      [Filed: 04/08/2019] (Docket No. 1388)

                              (b)     Omnibus Limited Objection and Reservation of
                                      Rights of Chapter 7 Trustee to Chapter 11
                                      Professional Final Fee Applications [Filed:
                                      07/24/2019] (Docket No. 1606)

     Status:                          This matter is being continued off calendar to a date
                                      to be determined.

3.   Final Application for Compensation and for Reimbursement of Expenses for the
     period August 6, 2018 to February 4, 2019 Filed by Pachulski Stang Ziehl & Jones
     LLP [Filed: 03/18/2019] (Docket No. 1362)

     Related Documents:               None

     Response Deadline:               April 8, 2019 at 4:00 p.m. Eastern Time; Extended
                                      to July 25, 2019 at 4:00 p.m. Eastern Time for the
                                      Trustee

     Responses Received:
                              (a)     Limited Objection and Reservation of Rights of 99
                                      Cents Only Stores, LLC, Brixmor Operating
                                      Partnership LP, Federal Realty Investment Trust,
                                      PGI Management, PGIM Real Estate, Primestor
                                      Development, Inc., Valley Plaza, LLC Watt
                                      Companies, Weitzman, and Wind Chime Properties,
                                      L.P. to Certain Final Fee Applications
                                      [Filed: 04/08/2019] (Docket No. 1388)

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                              (b)     Omnibus Limited Objection and Reservation of
                                      Rights of Chapter 7 Trustee to Chapter 11
                                      Professional Final Fee Applications [Filed:
                                      07/24/2019] (Docket No. 1606)

     Status:                          This matter is being continued off calendar to a date
                                      to be determined.

4.   Motion of Global USA, Inc. for Order Allowing Administrative Expense Claim
     Pursuant to 11 U.S.C. Section 503(b)(9) and Directing Immediate Payment Thereof
     Tunc [Filed: 05/31/2019] (Docket No. 1503)

     Related Documents:
                              (a)     Notice of Motion regarding Motion of Global USA,
                                      Inc. for Order Allowing Administrative Expense
                                      Claim Pursuant to 11 U.S.C. Section 503(b)(9) and
                                      Directing Immediate Payment Thereof [Filed:
                                      06/05/2019] (Docket No. 1525)

     Response Deadline:               June 24, 2019 at 4:00 p.m. Eastern Time

     Responses Received:              None

     Status:                          This matter is being continued to the November 14,
                                      2019 omnibus hearing date, with an extended
                                      objection deadline of November 7, 2019 for the
                                      Trustee only.

5.   Retail Process Engineering, LLC’s Motion for Order Granting Relief from the
     Automatic Stay [Filed: 07/17/2019] (Docket No. 1583)

     Related Documents:
                              (a)     Certification of Counsel Regarding Stipulation and
                                      Agreed Order Granting Relief from the Automatic
                                      Stay [Filed 09/30/2019] (Docket No.1730)

                              (b)    Order Approving Stipulation and Agreed Order
                                     Granting Relief from the Automatic Stay [Filed
                                     10/01/2019] (Docket No.1731)
     Related Documents:              None

     Response Deadline:               July 25, 2019 at 4:00 p.m. Eastern Time

     Responses Received:              None

     Status:                          An Order has been entered by the Court. No hearing
                                      is necessary.

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6.   Motion of Juanita V. Trujillo for Relief from the Automatic Stay Pursuant to Section
     362(d) of the Bankruptcy Code and/or Discharge Injunction[Filed 09/17/2019]
     (Docket No. 1712)

     Related Documents:
                               (a)     Certification of Counsel Submitting Proposed Order
                                       Granting Limited Relief from the Automatic Stay
                                       [Filed 10/16/2019] (Docket No. 1736)

                               (b)    Order Granting Limited Relief from the Automatic
                                      Stay [Filed 10/17/2019] (Docket No. 1741)

     Response Deadline:                October 8, 2019 at 4:00 p.m. Eastern Time

     Responses Received:               None

     Status:                           An Order has been entered by the Court. No hearing
                                       is necessary.

7.   Motion of Stephanie Jimenez for Relief from the Automatic Stay Pursuant to Section
     362(d) of the Bankruptcy Code and/or Discharge Injunction[Filed 09/20/2019]
     (Docket No. 1718)

     Related Documents:                None

     Response Deadline:                October 15, 2019 at 4:00 p.m. Eastern Time

     Responses Received:               None

     Status:                           This matter is being continued to the November 14,
                                       2019 omnibus hearing date, with an extended
                                       objection deadline of November 7, 2019 at 4:00 p.m.
                                       Eastern Time.

8.   Motion of Bonita Richardson for Relief from the Automatic Stay Pursuant to Section
     362(d) of the Bankruptcy Code and/or Discharge Injunction, Nunc Pro Tunc [Filed
     09/23/2019] (Docket No. 1722)

     Related Documents:
                               (a)     Certification of Counsel Submitting Proposed Order
                                       Granting Limited Relief from the Automatic Stay
                                       [Filed 10/16/2019] (Docket No.1735)

                               (b)    Order Granting Limited Relief from the Automatic
                                      Stay [Filed 10/17/2019] (Docket No. 1740)


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      Response Deadline:               October 15, 2019 at 4:00 p.m. Eastern Time

      Responses Received:              None

      Status:                          An Order has been entered by the Court. No hearing
                                       is necessary.


MATTERS GOING FORWARD:

9.    Priority Payment Systems’ and Swipe Payment Solutions’ Motion to Extend Breach
      Reserve Balance End Date [Filed: 07/02/2019] (Docket No. 1550)

      Related Documents:
                               (a)     Stipulation Among Priority Payment Systems,
                                       Swipe Payment Solutions, Chapter 7 Trustee George
                                       L. Miller, and Gordon Brothers Finance Company to
                                       (I) Extend Breach Reserve Balance End Date, and
                                       (2) Continue Hearing on Motion to Extend Breach
                                       Reserve Balance End Date [Filed: 07/15/2019]
                                       (Docket No. 1580)

                               (b)    Second Stipulation Among Priority Payment
                                      Systems, Swipe Payment Solutions, Chapter 7
                                      Trustee George L. Miller, and Gordon Brothers
                                      Finance Company to (I) Extend Breach Reserve
                                      Balance End Date, and (2) Continue Hearing on
                                      Motion to Extend Breach Reserve Balance End Date
                                      [Filed 09/13/2019] (Docket No.1705)


      Response Deadline:               October 14, 2019 at 12:00 p.m. Eastern Time

      Responses Received:              None


      Status:                          This matter is going forward.


10.   Priority Payment Systems’ and Swipe Payment Solutions’ Notice of Proposed
      Application of $642,380.95 from Breach Reserve Balance [Filed: 09/06/2019]
      (Docket No. 1695)




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      Related Documents:
                                (a)     Preliminary Objection of the Chapter 7 Trustee to
                                        Priority Payment Systems’ And Swipe Payment
                                        Solutions’ Notice of Proposed Application of
                                        $642,380.95 from Breach Reserve Balance [Filed:
                                        09/13/2019] (Docket No. 1709)

                                (b)     Joinder of Gordon Brothers Finance Company to
                                        Preliminary Objection of the Chapter 7 Trustee to
                                        Priority Payment Systems’ and Swipe Payment
                                        Solutions’ Notice of Proposed Application of
                                        $642,380.95 from Breach Reserve Balance [Filed:
                                        9/13/19] (Doc. No. 1710)

      Response Deadline:                September 16, 2019 at 4:00 p.m. Eastern Time

      Responses Received:
                                (c)     Priority Payment Systems’ and Swipe Payment
                                        Solutions’ Response to Chapter 7 Trustee’s
                                        Preliminary Objection (and Gordon Brothers
                                        Finance Company’s Joinder Thereto) to Notice of
                                        Proposed Application of $642,380.95 from Breach
                                        Reserve Balance [Filed: 09/23/2019] (Doc. No.
                                        1724)

      Status:                           This matter is going forward.

PRE-TRIAL CONFERENCE:

11.   Chapter 7 Trustee’s Verified Complaint for Declaratory Relief Under Section 362(a)
      of the Bankruptcy Code, Injunctive Relief Under Sections 105(a) and 362(a) of the
      Bankruptcy Code, and a Preliminary Injunction Under Rule 7065 of the Federal
      Rules of Bankruptcy Procedure [Filed: 09/12/2019] (Adv. Doc. No. 1)

      Related Documents:
                                (a)     Chapter 7 Trustee’s Motion for Injunctive Relief
                                        Under Sections 105(a) and 362(a) of the
                                        Bankruptcy Code, and a Preliminary Injunction
                                        Under Rule 7065 of the Federal Rules of
                                        Bankruptcy Procedure [Filed: 09/12/2019] (Adv.
                                        Doc. No. 2)

                                (b)     Armouth International, Inc.’s Answering
                                        Memorandum in Opposition to Chapter 7 Trustee’s
                                        Motion for Preliminary Injunction Enforcing the
                                        Automatic Stay [Filed: 10/04/2019] (Adv. Doc.
                                        No. 6)
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                              (c)     Reply Memorandum in Support of Chapter 7
                                      Trustee’s Motion for Preliminary Injunction
                                      Enforcing the Automatic Stay Pursuant to Sections
                                      105(a) and 362(a) of the Bankruptcy Code [Filed:
                                      10/15/19] (Adv. Doc. No. 8)

                              (d)     Order Approving Stipulation for Extension of Time
                                      [Filed: 10/15/19] (Doc. No. 9)

      Response Deadline:              Per the October 15, 2019 Stipulation and Order,
                                      Armouth’s response to the Complaint is due within
                                      fourteen (14) days of the entry of an order by the
                                      Court on the Preliminary Injunction Motion.

      Responses Received:             None


      Status:                         This pre-trial conference is continued to the
                                      November 14, 2019 omnibus hearing.




Dated: October 18, 2019                          BENESCH, FRIEDLANDER, COPLAN
       Wilmington, Delaware                        & ARONOFF LLP

                                                        /s/ Kevin M. Capuzzi
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                                                 Counsel for George L. Miller, Chapter 7
                                                 Trustee




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